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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6

 7   CHERYL KATER and SUZIE KELLY,                        No. 15-cv-00612-RSL
     individually and on behalf of all others similarly
 8   situated,
 9
                             Plaintiffs,
10
            v.
11

12   CHURCHILL DOWNS INCORPORATED, a
     Kentucky corporation, and BIG FISH GAMES,
13   INC., a Washington corporation.
14
                             Defendants.
15
     MANASA THIMMEGOWDA, individually and                 No. 19-cv-00199-RSL
16   on behalf of all others similarly situated,

17
                             Plaintiff,                   EMERGENCY INJUNCTION
18
            v.
19

20   BIG FISH GAMES, INC., a Washington
     corporation; ARISTOCRAT TECHNOLOGIES
21
     INC., a Nevada corporation; ARISTOCRAT
22   LEISURE LIMITED, an Australian corporation;
     and CHURCHILL DOWNS INCORPORATED,
23
     a Kentucky corporation,
24
                             Defendants.
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                                                                  T OUSLEY B RAIN S TEPHENS PLLC
      EMERGENCY INJUNCTION                                            1700 Seventh Avenue, Suite 2200
      CASE NOS. 15-CV-612, 19-CV-199 - i                               Seattle, Washington 98101-4416
                                                                   Tel: 206.682.5600 • Fax: 206.682.2992
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 1          This matter came before the Court upon Plaintiffs’ Unopposed Motions for Emergency

 2   Injunction Pursuant to 28 U.S.C. § 1651. Having considered the motion, the Court GRANTS the

 3   motions and ORDERS as follows:

 4          By October 2, 2020 at 5:00 p.m. PDT, VeriSign shall:

 5                  a.      Disable the Challenged Domain Name, through a registry hold, making it

 6                          inactive; and

 7                  b.      Impose a registry lock on the Challenged Domain Name to prevent any

 8                          modifications or transfer of the Challenged Domain Name during the

 9                          pendency of this litigation.

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11   IT IS SO ORDERED.

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13          DATED this 30th day of September, 2020.

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15                                                 ROBERT S. LASNIK
                                                   UNITED STATES DISTRICT JUDGE
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                                                                   T OUSLEY B RAIN S TEPHENS PLLC
      EMERGENCY INJUNCTION                                             1700 Seventh Avenue, Suite 2200
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